             Case 2:20-cv-00656-MAT Document 18 Filed 09/14/20 Page 1 of 3




1                                                                         The Honorable Mary Alice Theiler

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8                                 IN THE UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
9                                             AT SEATTLE

10
      SARAH NAPLIN-RIDLEY,                                      Case No. 2:20-cv-656-MAT
11
                          Plaintiff,                            STIPULATED JUDGMENT OF
12                                                              DISMISSAL
              v.
13
      MIDLAND FUNDING, LLC AND SUTTELL
14    AND HAMMER, P.S.,

15                        Defendants.

16

17          Pursuant to Fed. R. Civ. P. 41(a), and based upon the stipulation of the parties, by and through

18   their respective attorneys of record herein, and it appearing to the Court that the above-entitled action

19   has been fully compromised and settled;

20          IT IS HEREBY ORDERED, DECREED AND ADJUDGED that this action, including all

21   claims, counterclaims and cross-claims asserted therein, is dismissed with prejudice and without

22   award of costs or attorney fees to any party.

23   ///

24   ///

25   ///

26   ///


      STIPULATED JUDGMENT OF DISMISSAL                                              HOLLAND & KNIGHT LLP
                                                                                        601 SW Second Avenue
      CASE NO. 2:20-CV-656-MAT - PAGE 1                                                        Suite 1800
                                                                                          Portland, OR 97204
                                                                                       Telephone: 503.243.2300
             Case 2:20-cv-00656-MAT Document 18 Filed 09/14/20 Page 2 of 3




1    IT IS SO STIPULATED:

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     Attorneys for Defendant Midland Funding, LLC
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      STIPULATED JUDGMENT OF DISMISSAL                           HOLLAND & KNIGHT LLP
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              Case 2:20-cv-00656-MAT Document 18 Filed 09/14/20 Page 3 of 3




1                                      CERTIFICATE OF SERVICE

2            I hereby certify that I caused the foregoing STIPULATED JUDGMENT OF DISMISSAL to
     be electronically filed with the Clerk of Court using the CM/ECF system which will send notification
3    of such filing to all counsel of record.

4            DATED: September 11, 2020.

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6                                                     s/ David J. Elkanich
                                                      David J. Elkanich
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      CERTIFICATE OF SERVICE – PAGE 1                                         HOLLAND & KNIGHT LLP
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